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Brenna B. Mahoney                             UNITED STATES DISTRICT COURT                                            August Marziliano
Clerk of Court                                EASTERN DISTRICT OF NEW YORK                                         Chief Deputy, Brooklyn

                                                                                                                Ogoro Francis-McLeish
                                                                                                               Chief Deputy, Central Islip



                                                  'DWH                    11/13/24
                  24-cv-7795
'RFNHW1XPEHU BBBBBBBBBBBBBBBBBBBBBBBBB LQFOXGHWKLVQXPEHU RQDOOSDSHUV VXEPLWWHGWRWKH
&RXUW 

'HDU/LWLJDQW
                                                                 11/8/24
          7KH&OHUN¶V2IILFHUHFHLYHGWKHHQFORVHGSDSHUV RQBBBBBBBBBBBBBBBBBBB$GRFNHWQXPEHU
KDV EHHQDVVLJQHGWR\RXU VXEPLVVLRQ7KHSDSHUVDUHGHILFLHQW IRU RQHRUPRUHRIWKHIROORZLQJ
UHDVRQVFKHFNHGEHORZ3OHDVHUHDGWKLVOLVW FDUHIXOO\ WRFRUUHFW DQ\PLVWDNHVRURPLVVLRQV LQ\RXU
SDSHUV ,I \RXGHFLGHWRSURFHHGZLWK\RXUDFWLRQ \RXPXVWUHWXUQWKHHQFORVHGSDSHUV :,7+,1
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EHGLVPLVVHG
                   WĂƉĞƌƐLQFOXGLQJFRPSODLQWVSHWLWLRQV PRWLRQV RUDQ\RWKHUGRFXPHQW FDQQRW EHILOHGZLWKRXWDQ
                   RULJLQDOVLJQDWXUHSXUVXDQWWR5XOHRI WKH)HGHUDO5XOHV RI&LYLO 3URFHGXUH <RXU RULJLQDO VLJQDWXUHLV QHHGHG
                   ZKHUHYHU DQ³;´DSSHDUV

                   $WRWDOIHHRI FRQVLVWLQJRIFLYLODFWLRQILOLQJIHHDQGDDGPLQLVWUDWLYH IHH >LQFDVK LI VXEPLWWHGLQ
                   SHUVRQ@RUE\ FHUWLILHGFKHFNRUPRQH\RUGHUPDGHSD\DEOHWRWKH&OHUNRI&RXUW 86'&('1<LVUHTXLUHGLQ
                   RUGHUWR FRPPHQFHDFLYLODFWLRQRWKHU WKDQDQDSSOLFDWLRQIRU DZULW RIKDEHDV FRUSXVRU DPRWLRQXQGHU
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                   PXVW DOVRFRPSOHWHWKH 3ULVRQHU$XWKRUL]DWLRQIRUPDORQJZLWK WKH,)3 DSSOLFDWLRQ $Q,)3DSSOLFDWLRQDQGRU
                   3ULVRQHU$XWKRUL]DWLRQ IRUPLVHQFORVHG

✔                  (DFKSODLQWLIIQDPHGLQWKHFDSWLRQPXVW VLJQWKHFRPSODLQW DQGHDFK SODLQWLIIPXVWFRPSOHWHD
                   VHSDUDWH,)3DSSOLFDWLRQDQGRU3ULVRQHU$XWKRUL]DWLRQIRUP LIDSSOLFDEOH$Q ,)3DSSOLFDWLRQDQGRU 3ULVRQHU
                   $XWKRUL]DWLRQIRUPIRU HDFKSODLQWLII QDPHG LQWKHFDSWLRQLV HQFORVHG

                   <RXU ,)3DSSOLFDWLRQGRHVQRW FRQWDLQHQRXJKLQIRUPDWLRQIRUWKH&RXUWWRFRQVLGHU \RXUUHTXHVW
                   3OHDVH FRPSOHWHWKHHQFORVHG,)3DSSOLFDWLRQ,I \RXDUHSUHVHQWO\LQFDUFHUDWHGSOHDVHFRPSOHWHWKH HQFORVHG
                   3ULVRQHU $XWKRUL]DWLRQIRUPDVZHOODV WKH,)3DSSOLFDWLRQ

                   2WKHU3OHDVHVLJQDQGUHWXUQWKHHQFORVHGFRPSODLQW



                                                                               Sincerely,



                                                                               August Marziliano
                                                                               Chief Deputy, Brooklyn




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                                                                               Chief Deputy, Central Islip



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